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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                             In Admiralty – Newport News Division


IN THE MATTER OF THE COMPLAINT
OF DANN MARINE TOWING, LC,
AS OWNER OF THE TUG SEA COAST                                   Civil Action No. 4:18-cv-149


                                 COMPLAINT IN ADMIRALTY

        The Complaint of Dann Marine Towing, LC, as owner of the Tug SEA COAST in an action

for limitation of liability, civil and maritime, hereby alleges upon information and belief as follows:

        1.      This is a case of admiralty and maritime jurisdiction, within the meaning of Rule 9(h)

of the Federal Rules of Civil Procedure. Subject matter jurisdiction exists with this Court pursuant

to 28 U.S.C. § 1333.

        2.      Plaintiff in limitation, Dann Marine Towing, LC (hereinafter “Dann Marine” or

“Limitation Plaintiff”), is a limited liability company existing under the laws of Maryland, with its

principal place of business in Chesapeake City, Maryland, and with a business operation in Virginia

Beach, Virginia, and was at all material times the owner and/or owner pro hac vice and bare boat

charterer of the Tug SEA COAST referred to in this Complaint.

        3.      The Tug SEA COAST is a steel towing vessel, 60.2 feet in length, built in 1980,

Official No. 625680.

        5.      The Vessel was at all material times and in all respects seaworthy and properly

maintained and in particular was seaworthy and in proper working condition on July 14, 2018, and

the vessel regularly sails in the navigable waters in this district.

        6.      To the best of Limitation Plaintiff’s knowledge, information and belief, there are no

demands or unsatisfied liens against the Vessel which arose from the voyage at issue that occurred


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on July 14, 2018. The Vessel has not been attached or arrested as the result of any legal claim or

proceeding under the general maritime law. To Limitation Plaintiff’s knowledge, the only claims

presently asserted against Limitation Plaintiff as a result of the Vessel’s voyage on July 14, 2018, are

claims or potential claims in the total amount of four million dollars by or on behalf of Maceo

Nicholson and Kalijah Stith, minor children, and Quientin Nicholson for alleged personal injuries, a

claim by the Estate of Leroy Parker for wrongful death, and an as-yet unspecified claim by the Estate

of Robert Coleman for wrongful death (collectively, “Claimants”), all occurring on or about July 14,

2018, as the result of a collision between the SEA COAST and a recreational vessel occupied by

claimants in the James River at approximately 7:45 a.m.

        7.     The voyage of the SEA COAST began and ended on July 14, 2018, in Newport News,

Virginia, and the vessel was not damaged, lost, or abandoned.

        8.     Limitation Plaintiff denies that any negligence on its part or any unseaworthiness of

the Vessel caused or contributed in any way to the injuries sustained by Claimants.

        9.     If any negligence occurred, which is denied, any damages or injuries which may have

resulted therefrom were not caused or contributed to by any fault, neglect, want of care, or design on

the part of Limitation Plaintiff, or any unseaworthiness of the Vessel.

        10.    If any negligence occurred, which is denied, any losses, damages or injuries or death

resulting or occasioned therefrom were incurred without the privity or knowledge of Limitation

Plaintiff.

        11.    The voyage of the Vessel, during which any potential claims arose, concluded on July

14, 2018, on the navigable waters of the United States. The value of the Vessel at the close of the

voyage did not exceed Five Hundred Thousand U.S. Dollars ($500,000.00). There were no pending

freights at the conclusion of the voyage. The claims asserted to date by Claimants, via counsel, and


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other potential claimants, alleged to have been occasioned by the events above-mentioned, are

expected to exceed the value of Limitation Plaintiff’s interest in the Vessel at the end of the voyage

above-described.

        12.    Limitation Plaintiff claims exoneration from liability for any and all loss caused,

occasioned, or incurred by the above-referenced alleged incident, and for any and all claims or

potential claims arising therefrom.

        13.    Limitation Plaintiff claims the benefit of the Limitation of Liability Act of the United

States, 46 U.S.C. §§ 30501-30512, and claims exoneration from or limitation of liability for any

injuries, damages, or losses of whatever description arising from the alleged incident aforesaid.

Limitation Plaintiff desires to contest its liability and that of the Vessel in respect to any and all

claims and alleges that it has valid defenses to any such claims on the facts and the law.

        WHEREFORE, Limitation Plaintiff prays that this Honorable Court will:

        1.     Enter an Order directing the issuance of a monition against all persons, concerns, or

firms claiming damages for any and all losses or damages occasioned or incurred by or in any way

resulting from or otherwise arising out of the above-referenced alleged incident, or otherwise

asserting any claim against Limitation Plaintiff or the Vessel with respect to which Limitation

Plaintiff seeks exoneration from or limitation of liability herein, admonishing them to answer under

oath the allegations of this Complaint and to file their respective claims with the Clerk of this Court

to serve on, or mail copies thereof to, the attorney for Limitation Plaintiff herein named on or before

the date to be specified in the monition, and to make due on or before the date to be specified in the

monition, all as provided by law and by the Federal Rules of Civil Procedure and Supplemental Rule

F(4).

        2.     Direct that notice of the monition, in the form and manner prescribed by


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Supplemental Rule F(4), be published in such newspaper or newspapers as the Court may specify or,

as specified by the Rules, once a week for at least four (4) consecutive weeks before the date

specified in the monition for filing claims herein.

        3.       Issue an injunction restraining the further prosecution of any and all suits, actions and

proceedings, which may have been commenced in any court whatsoever, to recover damages for any

and all losses or damage occasioned or incurred by or in any way resulting from the above-referenced

casualty and loss or in any way consequent or arising from the Vessel and restraining the

commencement or prosecution thereafter or any suit, action or legal proceeding of any nature or

description, except in this action, against Limitation Plaintiff or the Vessel in respect to any claim, all

as provided by law and by the Federal Rules of Civil Procedure and Supplemental Rule F(3).

        4.       Adjudge and decree that in this proceeding Limitation Plaintiff is not liable to any

extent upon any of the claims made or that may be made as described above; or, if Limitation

Plaintiff is found liable, then such liability is limited to the value of the Vessel as found at the time of

the above-referenced casualty, and a decree discharging Limitation Plaintiff of and from any and all

further liability.

        5.       That the Court grant Limitation Plaintiff such other and further relief as may be just

and proper.

        Respectfully submitted on November 27, 2018.


                                         DANN MARINE TOWING, LC, AS OWNER OF
                                         THE TUG SEA COAST,

                                         By:     /s/ David N. Ventker
                                                 Of Counsel


David N. Ventker (VSB No. 29983)


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